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                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

             ROBERT CASEY, TAYTOR
             ADDY, ROGER WILSON,
             ZACHARY CHASTAIN, TRAVIS
             DELDUCA"
                 Plaintiffs,
                                                           CIVI    ACTION NO.
                   v.                                      1:16-CV-4517-SCI

             1400 NORTHSTDE      DRrV4 rNC.,
             Wa  Swinging Richards; C.B.
             JONES,II;

                   Defendants.

                                                  ORDER

                   On May 9,2018, a jury returned a verdict in favor of Plaintiffs and against

             Defendants on all claims, finding that Defendants   willfully violated the Fair Labor
             Standards Act ('FLSA") and that they retaliated against Plaintiff Robert Casey by

             refusing to rehire him while he continued to participate in a previous FLSA action

             (the Henderqon case). Doc. No. [a8]. This matter now appears before the Court on

             Plaintiffs' Motion to Award Liquidated Damages (Doc. No. [50]), their Motion to

             Equitably Toll the Statute of Limitations (Doc. No. [51]), and their Motion for

             Attorneys'Fees (Doc. No. [52]).




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                    When   a   jury finds that an employer's violation of the FISA was willful, that

             "precludes the court from finding that the employer acted in good faith when it

             decides the liquidated damages question." Alvarez Perez v. ganford-Orlando Kennel

             Clsb. Iac.. 515 F.3d 1150, 1166 (11th Cir. 2008). Because the jury found willfulness, the

             Court must award Plaintiff's liquidated damages, and that Motion (Doc. No. [50]) is

             GRANTED. See Doc. No. [48], p.3.

                    As for Plaintiffs' Motion for Attorneys' Fees and Costs, Defendants and the

             Court agree that the hours expended and rates charged by Plaintiffs' counsel are

             reasonable. See Docs. No. [52], [5a]. Multiplying the hours reasonably expended in

             this litigation by the reasonable hourly rates results in a "lodestar" figure. Hensley

             v. Eckerhart.461 U.S. 424,433,103 S.Ct. 1933,1939,26L.8d.2d 40 (1983); Norman v.

             Hous. Auth. of the City of Montgomery,. 836 F.2d 1292,1299 (11th Cir.1988). This

             amount is "strongly presumed to be reasonable." Resolution Trust Corp,. v. Hallmark

             Builders. Inc.. 996F,2d1144,1150 (11th Cir. 1993) (per curiam).

                   In this case/ the lodestar is $163,658.56. See Doc. No. [52], pp.9-11,. Once the

             Court has calculated the lodestar amount, it must consider whether an increase or

             reduction is warranted based on a variety of factors. See Norman. 836 F.2d at 1302.

             The Court agrees that no adjustments are appropriate in this case. Ptaintiffs are also




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             entitled to recover the "costs of the actror:." which is $5,369.45.   See 29 U.S.C.   5216(b);

             sqe also   Doc. No. l52l,p.1.7. Accordinglp Plaintiffs' Motionfor Attomeys'Fees (Doc.

             No. [52]) is GRANTED.

                   Last, the Court addresses the odd question of whether it should equitably toll

             the statue of limitations for the minimum-wage violations alleged in the Henderson

             action. Plaintiff Casey seefirs to believe he cannotrecover damages for his retaliation

             claim unless the Court "equitably toll the statute of limitations to allow him to

             recover the FLSA damages he would have been entitled to recover had he not be [sic]

             coerced into withdrawing from the Henderson actton." Doc. No. [51], p. 2. But in this

             case Plaintiff Casey     did not bring those minimum-wage claims brought in
             Henderson. He brought a retaliation claim because Defendants forced him to drop

             out of the Henderson case in which he did bring those claims. Doc. No. [9], pp. 25-27 .

                   The question of whether Plaintiff Casey's FI^SA claims from the Henderson

             action should be equitably tolled is moot. He was not awarded damages for alleged

             minimum-wage violations that occurred approximately five years ago. He was

             awarded damages for a retaliation claim. As damages for retaliatioru he in entitled

             to recover "such legal or equitable relief as may be appropriate to effectuate the

             PurPoses of [29 U.S.C. $] 215(a)(3)," which includes "wages lost and an additional




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             equal amount as liquidated damages:'29 U.S.C.              S   216(b). The   jury found that the

             "wages lost"   as a   result of the retaliation were the $38,L78 dollars Plaintiff Casey was

             forced to abandon by dropping his claims in the Henderson action. Doc. No. [48],

             pp.2-3. The Court finds that "an additional equal amount as liquidated damages"

             is appropriate. See29 U.S.C.      S   216(b). Plaintiffs' Motion to Equitably Toll the Statute

             of Limitations (Doc. No. [51]) is DENIED as moot.

                   Given the foregoing, the CouTtDIRECTS the Clerkto enterJudgmentinfavor

             of Plaintiffs and against Defendants, jointly and severally, as follows:

                   '        Plaintiff Casey is to recover $76,356 for his retaliation claim ($38,178 in

                            "lostwages" and an equal amount of liquidated damages), and $55,L88

                            for his minimum-wage claim ($27,594 in actual damages and an equal

                            amount in liquidated damages);

                   .        Plaintiff Taylor Addy is entitled to $114,525.50 ($57,262.75 in actual

                            damages and an equal amount in liquidated damages);

                   .        Plaintiff Roger Wilson is entitled to $1,20,060 ($60,030 in actual damages

                         and an equal amount in liquidated damages);

                   .     Plaintiff Zachary Chastain is entitled to $170,469 ($85,234.50 in actual

                         damages and an equal amount in liquidated damages);




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                     Plaintiff Travis Delduca is entitled to $108,847.W ($il,423.75 in actual

                     damages and an equal amount in liquidated damages);

                     Plaintiffs are also entitled to $163,558.56 in attomeys' fees and $5,369.a5

                     in costs.

                    IT IS SO ORDERED, this{Staay of May, 2018.



                                             UNMD      STATES DISTRICT IUDGE




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